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            IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                            Criminal No. 09-308

           v.


VASILIA BERGER,
a/k/a VASILIA KLIMANTIS,

                    Defendant.


                        DEFENDANT’S MEMORANDUM
                     IN SUPPORT OF LOSS CALCULATION


      COMES NOW the Defendant, Vasilia Berger, by and through her counsel, J. Alan

Johnson, Esquire, and Johnson & Eddy, LLC, and submits the following Defendant’s

Memorandum in Support of Loss Calculation and respectfully states:



                         A.      FACTUAL BACKGROUND

      The defendant, Vasilia Berger, owned Steel City Mortgage (hereinafter SCM)

since 1996. Ms. Berger’s husband, Jay Berger, owned a similar company, First Federated

(hereinafter FF). The defendant and her husband married in 2003, after which time their

two companies merged and FF did business as SCM.

      Elleni Berger is the defendant’s sister. Elleni Berger owned All Credit Finance

(hereinafter ACF), a mortgage brokering company. Elleni Berger married Randy Berger

(no relation to Jay Berger) and the two of them, together, ran ACF. ACF opened in 1998.
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At no time did ACF share office space, employees, profits or resources. In fact, SCM/FF

and ACF were competitors.

       Kenneth Cowden was a real estate “appraiser,” who operated without proper

licensing to perform property appraisals. Mr. Cowden appraised a number of properties

for Ms. J. Berger and Mr. V. Berger, which appraisals the defendant used to broker

mortgages.    Ms. Berger met Mr. Cowden when he was working as a realtor and

accountant, though at the time they initially met, Mr. Cowden was already performing

appraisals for other brokers, as well. See Defense Exhibit 1. Mr. Cowden did prepare

income tax returns for the defendant and her husband, but the returns were never filed

and Mr. J. Berger eventually hired another tax professional to prepare and file the returns.



                               B.     LOSS VALUATION

       For purposes of determining a defendant’s applicable offense level for fraud-

related offenses, the Court must determine the amount of loss caused by the defendant’s

conduct. U.S.S.G. § 2B1.1(b). “Loss” is defined as the greater of the actual loss incurred

by the victim or the defendant’s “intended” loss. U.S.S.G. §2B1.1, app. n.3(A) (2010).

“Intended loss” is the pecuniary harm that was intended as a result of the offense and

includes such harm even if it was impossible or unlikely to occur. U.S.S.G. §2B1.1, app.

n.3(A)(ii). Actual loss, on the other hand, means the reasonably foreseeable pecuniary

harm caused by the defendant’s conduct. U.S.S.G. §2B1.1, app. n.3(A)(i).




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       Where the court cannot reasonably determine the loss caused by the defendant’s

conduct, the court shall use the gain that resulted from the offense. U.S.S.G. §2B1.1,

app. n.3(B) (emphasis added).

       The case law governing loss calculation for purposes of determining the

defendant’s offense level in mortgage fraud cases stems from U.S. v. Siciliano, 601

F.Supp.2d 623 (E.D.Pa. 2009) and a trilogy of Third Circuit cases (U.S. v. Sharma, 190

F.3d 220 (3d Cir. 1999), U.S. v. Napier, 273 F.3d 276 (3d Cir. 2001), cert. denied, 535

U.S. 1066 (2002), and U.S. v. Anderson, 216 Fed.Appx. 258 (3d Cir. 2007)).              In

calculating loss, “[t]he court need only make a reasonable estimation of the loss,” which

may be based upon “available information.” U.S.S.G. §2B1.1, app. n. 3(C).

       The burden of persuasion with respect to the loss calculation rests with the

government by a preponderance of the evidence. See U.S. v. Jimenez, et al., 513 F.3d 62,

86 (3d. Cir. 2008) (citing U.S. v. Napier, 273 F.3d at 279). “The Guidelines are clear that

the loss calculation does not need to be perfectly accurate, though it can not be based on

pure speculation.” U.S. v. Siciliano, 601 F.Supp.2d 623, 626 (E.D.Pa. 2009) (emphasis

added).

       Before addressing the objections to the government’s loss calculations, it is worth

exploring the holding in Siciliano as, factually, it is quite similar to the instant case.

More importantly, the Siciliano decision was cited by the Court as the approach it intends

to use in determining the loss attributable to Ms. Berger at the hearing on February 11,

2011. In Sicilano, the loss calculation was based off the actual loss to the lenders.



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       In Siciliano, the defendant brokered mortgages for properties using fraudulent and

inflated appraisals for one particular borrower who was a rogue “real estate developer,”

to use the term loosely. Siciliano, 601 F.Supp.2d at 624-25. At sentencing, the court

undertook to determine the loss caused to the financial institutions as a result of the

fraudulently procured loans. Id. at 626-634.

       To “prove” loss in Siciliano, the government asserted two theories for calculating

an amount.     These theories, categorically, pertained to properties (1) that had gone

through foreclosure and (2) properties where foreclosure had not been completed. Id. at

632. For properties which had been through the foreclosure process, the loss calculation

was essentially as follows:

       Loss = Unpaid balance of loan – resale value of property + foreclosure costs

Id. The court had no problem using this formula and indeed adopted it to determine the

actual loss in the case.

       Regarding the loss on the non-foreclosure properties, however, the government

was not able to establish actual loss using hard numbers. Id. Instead, the government

computed the “Percentage Loss” using an average of the loss per home for the foreclosed

upon properties and applying the calculated average percent loss to the unpaid balance of

the mortgages in Category 2. Id. The defense presented an expert forensic appraiser who

provided a different method of calculating loss for the properties that were still pending

foreclosure. Id. at 628-29. In light of the fact the defense introduced some evidence to

rebut the government’s percentage loss theory, the district court did not feel comfortable

adopting a loss calculation that was a formula of averages. Id. at 633-34. Because the

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government had not presented evidence to substantiate its loss calculation on the

Category 2 properties, the court found the loss was only the amount for the

Category 1 properties for which the government had presented evidence. Id. at 634.

       Notably, in Siciliano, the government was able to provide the court with a starting

point; that is, evidence of the unpaid balance of the loan for both categories of properties.

Id. at 632. Despite the precise calculation of actual loss which the government provided

on the Category 1 (foreclosure) properties, the extrapolation of loss to the Category 2

(non-foreclosure) properties was not permitted. Id. at 634.

       Turning first to the roughly 79 loans brokered by First Federated and Steel City

Mortgage, which have been through foreclosure according to Government’s Exhibit D of

the Brief In Support of Loss Amount, and excepting those loans financed by National

City/PNC Bank, the defense notes the calculation of the loan amount is supported by no

evidence whatsoever. The government’s brief states, “the exact loan amounts for these

loans are not known,” but goes on to propose a purely speculative formula for the Court

to use to try to figure it out. For convenience, the government’s proposed calculation will

be called the “80% algorithm.” This practice is squarely in contradiction to the directive

of Siciliano which instructs that loss calculation not be purely speculative.

       The government urges the Court to determine the value of the loans at the time of

foreclosure were 80% of Mr. Cowden’s appraisal value. The defense does not dispute

that 80% of an appraised value is customary in the lending industry for determining an

approximate value of an original purchase loan. However, actual loss calculation is

based upon the unpaid balance of the defaulted upon loan, not the value of the original

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loan. See Sharma, 190 F.3d at 227 (holding calculation of actual loss begins with

“unpaid principal” on the loan); see also Siciliano, 601 F.Supp.2d at 627 (where even the

government acknowledged the loss calculation began with the “principal that remains on

the mortgage…”).

        In the case of the loans brokered by Steel City Mortgage set forth in Government’s

Exhibit D, which ended in default, most loans were made in the years 2001, 2002 and

2003.     Many of these properties did not go into default until 2007, 2008 or 2009.

Common sense indicates the foreclosure process generally does not take more than 2

years. Assuming, arguendo, that the loans in Exhibit D were original purchase loans at

80% of the appraised value, at least 4-6 years of payments must have been made on these

loans to warrant foreclosure no sooner than 2007-2009. 1 Yet the government seeks to

burden the defendant with a loss calculation based upon the entire value of the original

loan based upon its proposed formula. If the values on these non-National City/PNC

loans are not known, then they are not known. If they are not known, no one – not the

government, not the defense, and not the Court – ought to be guessing as to what the

values might have been, particularly when common sense and knowledge of the ways of

the world make the government’s algorithm virtually impossible. Defense Exhibit 2, a

report which was received by the defense from the FBI, shows clearly that the

government cannot prove loan balances on loans from Countrywide, Flagstar, Key Bank,

and Taylor Beane.

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  The defense does not concede that all of these loans were original purchase loans. Indeed some of them were
refinance loans, wherein the borrower received a loan in excess of what they owed on their original purchase loan,
but in amounts that were much less than 80% of the appraised value.

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      In addition, absent any evidence of the principal remaining at the time of default,

the defense (and this Court) has no way of knowing if 80% of the full appraisal was even

financed in the first place. If a homeowner sought a refinance of his or her home for

home improvement or debt consolidation, perhaps the owner only financed 50% of the

appraised value. It is quite common in a refinancing situation for a borrower to finance a

percentage of the appraised value much less than 80%. When “the exact loan amounts

for these loans are not known,” absent some evidence, the defense asks that the Court not

do what is proposed by the government: purely speculate as to what the values were.

      In some cases, the defaulted upon loans set forth at Government Exhibit D were

not even Steel City Mortgage or First Federated loans which went into default. For

example, item #6 on Government Exhibit D indicates the borrower, D. Payne, received a

loan of $36,000.00 brokered First Federated. The government has provided no evidence

of the loan to Mr. Payne, however.        Rather, this loan amount is based upon the

government’s proposed calculation of the loan value using Mr. Cowden’s appraisal value.

      Indeed the amount of the loan brokered by First Federated on February 28, 2002

was $30,400.00. See Defense Exhibit 3. However, this property was refinanced on

September 10, 2003 for $45,240.00 with The Citi Group, a loan which was not brokered

by the defendant in this case. America’s Wholesale Lender, which loaned Mr. Payne the

$30,400.00 on the loan brokered by First Federated certified satisfaction of its loan on

November 7, 2003. Accordingly, the loss to the lending institution for the loan which the

defendant brokered was $0.00. Instead, the government’s “calculation” wants to saddle

Ms. Berger with $38,173.00 in loss, when the evidence is directly contradictory. This

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example illustrates the importance of requiring the government to actually prove the loss

in this case. Just this one example is off by almost $40,000.00 to the detriment of Ms.

Berger.

      Similarly, the foreclosed upon loan at line 34 of Government Exhibit D was not a

loan brokered by Steel City Mortgage. The loan brokered by Steel City Mortgage was

funded on October 11, 2002 and was recorded on October 18, 2002. See Defense Exhibit

4. This mortgage was satisfied on August 25, 2004 when the owner refinanced the house

with a loan that was not brokered by Steel City Mortgage.          As a result, the lending

institution which funded the Steel City Mortgage loan, Meritage Mortgage Corporation,

did not suffer any financial loss as a result of the defendant’s actions.           Yet the

government seeks to attribute $23,500.00 in loss to her.

      Among the 79 loans brokered by First Federated and Steel City Mortgage, 11 were

financed by National City Mortgage and/or PNC Bank (resulting from the merger of

National City and PNC). These 11 mortgages are set forth at Government Exhibit G.

Among these 11 loans are a number of notable discrepancies, or, at a minimum, amounts

attributed in loss to Ms. Berger for which the defense has seen no evidence.

      a.        5098 West Harbison Road, Crafton, PA 15205 – the Marketing Loss
            Calculation of Realized Loss prepared by PNC Bank provides a ledger for
            how a loss of $36,632.84 was determined. This “net loss” includes
            $88,277.58 in expenses for “Makewhole paid to prior Investor (includes
            expenses),” which were attributed as loss to Ms. Berger. The defense has
            diligently attempted to independently ascertain what “Makewhole paid to
            prior Investor (including expenses)” is without any success. This
            “expense” of $88,277.58 nets for Ms. Berger a loss of $36,632.84. It goes
            without saying that exclusion of this amount would, in fact, have resulted in
            a gain to the bank of $51,644.74. The defense acknowledges this
            “Makewhole paid to prior Investor” expense could be a legitimate cost to

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      PNC Bank as a result of this foreclosure. However, without evidence to
      assist in determining how this figure was calculated, there is no way to
      know if any or all of it is, in fact, legitimate. Without knowing if the
      expense was properly included in the loss calculation, the defense cannot
      reasonably explore evidence which might rebut the inclusion of this
      expense in the loss calculation. Indeed, the same could be true of the other
      expenses indicated on PNC Bank’s ledger provided to the government.
      However, the defense is most troubled by the “Makewhole paid to prior
      investor” expense because, as compared to the other expenses, it seems
      foreign to the standard foreclosure process and the research conducted by
      the defense has not been helpful in educating what “Makewhole paid to
      prior investor” even means.

          Additionally, the Department of Real Estate, Allegheny County
      Assessment records indicate the property was sold by the lender for
      $143,750.00. See Defense Exhibit 5. It appears to counsel this resale value
      was not credited to Ms. Berger in accordance with the Siciliano directive to
      offset the unpaid balance of the loan with the amount recouped by the
      lender at a foreclosure sale.

b.        2226 Hawthorne Avenue, Pittsburgh, PA 15218 – as with the previous
      property, the ledger at Government Exhibit 43 indicates a “Makewhole paid
      to prior Investor (includes expenses)” expense, which is added into the loss
      calculation, in the amount of $14,892.54. The defense’s objections to the
      inclusion of this value are the same as that which was expressed, supra.
      Likewise, the property was sold by the lender who funded the National
      City/PNC Bank loan, that is, Fannie Mae, for $18,200.00 at foreclosure,
      which value does not appear to have been applied against the loss
      calculation attributed to Ms. Berger.

c.       3162-3164 Brighton Road, Pittsburgh, PA 15212 – as with the previous
      two properties, the ledger at Government Exhibit 48 indicates a
      “Makewhole paid to prior Investor (includes expenses)” expense, which is
      added into the loss calculation, in the amount of $15,259.23. The defense’s
      objections to the inclusion of this value are the same as that which was
      expressed, supra. Likewise, the property was sold by National City
      Mortgage for $6,210.00 at foreclosure, which value does not appear to have
      been applied against the loss calculation attributed to Ms. Berger.

d.        417 Atlantic Avenue, McKeesport, PA 15132 – as with the previous
      three properties, the ledger at Government Exhibit 52 indicates a
      “Makewhole paid to prior Investor (includes expenses)” expense, which is
      added into the loss calculation, in the amount of $8,154.38. The defense’s

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     objection to the inclusion of this value is the same as that which was
     expressed, supra. Moreover, the property appears to have been purchased
     by National City from Fannie Mae for $10.00 and sold at foreclosure for
     $15,000.00. See Defense Exhibit 6. The defense asserts the sale for
     $15,000.00 should be credited against the loss calculation in accordance
     with Siciliano.

e.       234 Painter Street, Greensburg, PA 15601 – as with all previous
     properties, the ledger at Government Exhibit 54 indicates a “Makewhole
     paid to prior Investor (includes expenses)” expense, which is added into the
     loss calculation, in the amount of $10,669.97. The defense’s objection to
     the inclusion of this value is the same as that which was expressed, supra.
     Additionally, National City/PNC Bank sold the property to a private buyer
     for $33,000.00, which value does not appear to have been applied against
     the loss calculation attributed to Ms. Berger.

f.       900 Rock Avenue, Beaver Falls, 15010 – as with all previous properties,
     the ledger at Government Exhibit 60 indicates a “Makewhole paid to prior
     Investor (includes expenses)” expense, which is added into the loss
     calculation, in the amount of $18,054.06. The defense’s objection to the
     inclusion of this value is the same as that which was expressed, supra. In
     addition, the owner history obtained from the Beaver County Assessment
     records shows the property was sold for $51,500.00, which value does not
     appear to have been applied against the loss calculation attributed to Ms.
     Berger. See Defense Exhibit 7.

g.       1516 Chestnut Street, Connellsville, PA 15425 – the defense objects to
     the inclusion of the loss figure on this loan set forth at Government Exhibit
     G inasmuch as there is no evidence before the Court upon which to
     conclude this figure is accurate. The ledger referenced in Government
     Exhibit G (that is, Government Exhibit 68) pertains to a different property,
     specifically, a property located at 123 Chestnut Drive, Smithfield, PA
     15478. Of note, however, this ledger does not purport to have incurred an
     expense entitled “Makewhole paid to prior Investor (includes expenses),”
     which begs the question whether this expense is legitimate as set forth in
     the prior exhibits.

h.      302 Meadowlark Lane, West Mifflin, PA 15122 – at the outset, the
     defense notes this property also does not include an expense of
     “Makewhole paid to prior Investor (includes expenses).” Additionally, this
     property was sold at foreclosure for $67,000.00, which value does not
     appear to have been applied against the loss calculation attributed to Ms.
     Berger.

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       i.       130 Wetzel Road, Glenshaw, PA 15116 – the ledger at Government
            Exhibit 72 indicates a “Makewhole paid to prior Investor (includes
            expenses)” expense, which is added into the loss calculation in the amount
            of $130,569.89. The defense’s objection to the inclusion of this value is the
            same as that which was expressed, supra. In addition, the owner history
            obtained from the Department of Real Estate, Allegheny County
            Assessment records indicates the property was sold at foreclosure for
            $123,000.00, which value does not appear to have been applied against the
            loss calculation attributed to Ms. Berger. See Defense Exhibit 8.

       j.       436 Brownsville Road, Pittsburgh, PA 15210 – the ledger at
            Government Exhibit 76 indicates a “Makewhole paid to prior Investor
            (includes expenses)” expense, which is added into the loss calculation in
            the amount of $15,573.60. The defense’s objection to the inclusion of this
            value is the same as that which was expressed, supra. In addition, this
            property was sold at foreclosure for $17,000.00, which value does not
            appear to have been applied against the loss calculation attributed to Ms.
            Berger.

       k.      108 West Virginia Avenue, Homestead, PA 15120 – according to the
            Department of Real Estate, Allegheny County Assessment records, this
            property was sold at foreclosure for $32,500.00, which value does not
            appear to have been applied against the loss calculation attributed to Ms.
            Berger. See Defense Exhibit 9.


       The defense is troubled by the seemingly inexplicable exclusion of the resale value

of the property to offset the loss proffered by the various PNC Bank ledgers. With

several of the National City/PNC loans, the government did not include among its

roughly 100 exhibits attached to its brief the prior owner history clearly showing an offset

to the bank’s loss through sale of the foreclosed upon property. The total value on the

resale of these 11 loans is $507,160.00. If applied against the government’s proposed

loss figure at Government Exhibit G, the total loss would be reduced to $507,620.14.



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       Additionally, the defense submits the total calculated loss on the Chestnut Street

property must be excluded because there is no evidence to support the figure indicated at

Government Exhibit G, thereby further reducing the loss to $404,621.14.

       Finally, there appears to be a total of $301,451.25 in “Makewhole paid to prior

Investor (includes expenses)” expenses included in the loss attributed to Ms. Berger.

Absent some evidence to support the government’s position that this cost should be

attributed to Ms. Berger, the defense believes this unknown expense must be excluded

from the loss calculation, as well. This would result in a loss calculation of $103,169.89

on the National City/PNC Bank defaulted upon loans.

       For the Court to determine the loss in this case, the government must substantiate

the loan value. While the sides might quibble about an appropriate value by which to

offset the loss calculation (e.g. appraised value versus foreclosure value, etc.), there can

be no disputing that it is impossible to calculate loss when “the exact loan amounts … are

not known.” Indeed there is some non-binding case precedent for calculating intended

loss using the full amount of the loan offset by the fair market value of the property at the

time the loan was made, where a borrower has not yet defaulted on his or her loan.

Nevertheless, even to establish intended loss, the government must prove the value of

the loan.

       In all 100 government exhibits, there are only 11 loans for which there exists

documentation to substantiate the unpaid balance of the loan. There is no documentation

before the Court substantiating the full amount of any loan principal when it was lent to

the borrower and, likewise, no evidence of the fair market value of the property at the

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time the original loan was made. Without loan values, unless the Court was inclined to

agree that the loss figure should be the $103,169.89, which is supported by the various

PNC Bank ledgers and real estate tax assessment records, then the Court must conclude a

reasonable estimation of the loss is impracticable in this case.



              C.     LOSS ATTRIBUTABLE TO DEFENDANT FROM

                           OTHER MORTGAGE BROKERS

       The government asserts, “[T]he defendant is responsible for loss caused not only

by loans in which Cowden was the appraiser and Steel City or First Federated was the

broker, but for all loans in which Cowden was the appraiser.” See Government’s Brief In

Support of Loss, p. 16.

       As a threshold matter, the defense respectfully requests the Court be mindful of

the fact there is no evidence whatsoever upon which the government seeks to have the

loss of other mortgage brokers actually calculated. Government Exhibit A, attached to

its brief, shows the “universe” of Cowden-appraised loans, for various mortgage brokers

in western Pennsylvania. However, as with the loss calculations for Steel City and First

Federated, the government has not followed the directive of this Court to implement the

holding in Siciliano to determine what the loss would be. The “loss” caused by other

mortgage brokers, assuming arguendo it could lawfully be attributed to Ms. Berger, must

be determined by the unpaid balance of the mortgage offset by either fair market value,

assessment value or the price at resale after a foreclosure. Instead, the government

implemented its “80% algorithm” to estimate “loss” on loans made using Mr. Cowden’s

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appraisals for First Capital Home Equity and First Atlantic Financial. Nowhere in the

brief or presently before the Court is there evidence of an actual loan amount: not an

unpaid balance, not an original loan amount, not even evidence that the loan defaulted

upon was the loan which was actually brokered by one of these companies.

      It gets worse. The government did not bother to procure foreclosure resale values

or assessment values for properties which collateralized loans brokered by the remaining

mortgage companies for which Mr. Cowden provided appraisals, specifically Financial

Freedom Mortgage, People’s Home Mortgage, TNT Financial and Commonwealth

Funding. Instead, the government wants this Honorable Court to calculate the loss from

these remaining companies without an original loan value, without an unpaid balance on

the mortgage, without any evidence whatsoever as to whether the loan originally

brokered by these companies is still the current loan on the property, and without any

information to offset the loan value such as an assessment, fair market or resale value on

the property. Instead, in its brief, the government figures about 50% of Mr. Cowden’s

$324,000,000.00 in appraisals were done for those remaining companies (i.e. Financial

Freedom Mortgage, People’s Home Mortgage, TNT Financial and Commonwealth

Funding), so the loss calculated by the “80% algorithm” on the other mortgage brokers’

loans should just be doubled.

      It is worth noting, the government has previously acknowledged in open court that

the loss caused by Mr. Cowden’s appraisals did not exceed $2,500,000.00 (see Plea

Colloquy of Kenneth Cowden, July 20, 2007, page 10). To now suggest the loss caused

by Mr. Cowden’s appraisals, which should be attributed to Ms. Berger by virtue of her

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association with him to be valued at $35,406,250, seems… disingenuous. In addition to

the fact the government has produced no evidence to substantiate the actual loss amount

incurred by these brokers’, there exists legal precedent which undermines the

government’s theory that Ms. Berger should be saddled with the loss caused by every

fraudulent loan issued upon Mr. Cowden’s appraisals in western Pennsylvania.

      The mortgage fraud conspiracy before this Court centered on Mr. Cowden, not

Ms. Berger. At sentencing for Mr. Cowden, which proceeding was before this Court, the

government unequivocally stated, “Obviously, the appraisal, as I found out in my last few

years prosecuting these [mortgage fraud cases], is absolutely key,” to which the Court

responded, “It’s critical.” Additionally, the government indicated Mr. Cowden was an

extraordinary cooperator “in terms of the sheer number of people that were prosecuted

as a result of at least his indirect cooperation.” (Emphasis added.) Mr. Cowden was the

center of a true “hub-and-spoke” conspiracy. It was he who conspired with the other

mortgage brokers for whom he did business. As to Ms. Berger, those other mortgage

brokers were competitors.

      For purposes of attributing loss amount at sentencing, it need not necessarily be

shown that a defendant conspired with another, but, rather, that two or more parties

jointly undertook criminal activity. See U.S.S.G. § 1B1.3(a)(1)(B). Indeed, even where

there is evidence of a conspiracy between two parties, “the scope of the criminal activity

jointly undertaken by the defendant (the ‘jointly undertaken criminal activity’) is not

necessarily the same as the scope of the entire conspiracy…” U.S.S.G. § 1B1.3, app. n.2.

“[A] defendant is accountable for the conduct (acts and omissions) of others that was

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both: (A) in furtherance of the jointly undertaken criminal activity; and (B) reasonably

foreseeable in connection with that criminal activity.” Id.

       The Guidelines give a number of examples to assist the Court in determining what

is and is not “jointly undertaken criminal activity” for purposes of attributing additional

misconduct to the defendant at sentencing.          The Guidelines provide the following

example of conduct which is not jointly undertaken criminal activity and appears to be

squarely on point in this case:

              Defendant P is a street-level drug dealer who knows of other
              street-level drug dealers in the same geographic area who
              sell the same type of drug as he sells. Defendant P and the
              other dealers share a common source of supply, but otherwise
              operate independently. Defendant P is not accountable for
              the quantities of drugs sold by the other street level drug
              dealers because he is not engaged in a jointly undertaken
              criminal activity with them.

U.S.S.G. § 1B1.3, Illus. (b)(6) (emphasis added).

       In the foregoing example, as with Ms. Berger, the defendant and other dealers are

direct competitors with one another – selling the same (illegal) product in the same

market. Absent evidence the actors are sharing profits or pooling resources, they cannot

be found to be engaged in jointly undertaken criminal activity. Id.

       Another illustrative example is made using competitors in the distribution of child

pornography, who derive their product from the same source.

              Defendant K is a wholesale distributor of child pornography.
              Defendant L is a retail-level dealer who purchases child
              pornography from Defendant K and resells it, but operates
              independently of Defendant K. Similarly, Defendant M is a
              retail-level dealer who purchases child pornography from
              Defendant K and resells it, but otherwise operates

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               independently of Defendant K. Defendants L and M are
               aware of each other’s criminal activity, but operate
               independently. Defendant N is Defendant K’s assistant who
               recruits customers for Defendant K and frequently supervises
               the deliveries to Defendant K’s customers. Each defendant is
               convicted of a count charging conspiracy to distribute child
               pornography. Defendant K is accountable … for the entire
               quantity of child pornography sold to Defendants L and M …
               Defendant L is accountable … only for the quantity of child
               pornography he purchased from Defendant K because the
               scope of his criminal activity is limited to that amount. For
               the same reason, Defendant M is accountable … only for the
               quantity of child pornography that he purchased from
               Defendant K.

U.S.S.G. § 1B1.3, Illus. (b)(4) (emphasis added).

       In one of the earliest decisions from the Third Circuit analyzing the U.S.S.G. §

1B1.3, the court held:

               [I]t is not enough to merely determine that the defendant’s
               criminal activity was substantial. Rather, a searching and
               individualized inquiry into the circumstances surrounding
               each defendant’s involvement in the conspiracy is critical to
               ensure that the defendant’s sentence accurately reflects his or
               her role.

U.S. v. Collado, 975 F.2d 985, 995 (3d Cir. 1992).

       Collado involved distribution of heroin by two brothers, Antonio and Policai. 975

F.2d at 988.     At sentencing, the brothers had been attributed amounts of heroin

distributed (a) before they joined the conspiracy; (b) distributed by one another; and (c) to

the conspiracy by other conspirators.      Id.    On appeal, the Third Circuit concluded

amounts distributed before the brothers joined the conspiracy were improperly included

at sentencing. Id. at 997. The Court found the amounts distributed by each brother were

properly attributed to the other. Id. at 997-998. The court remanded to the district court

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for further factual findings and resentencing based upon the amounts distributed by co-

conspirators to other co-conspirators. Id. at 998.

       In crafting its decision, the Third Circuit relied upon an Eighth Circuit decision,

U.S. v. North. The court held that in determining the appropriate relevant conduct to

include in the offense level calculation, it was important to consider whether the drug

transaction was executed and arranged with or without the knowledge of the defendant.

Id. at 994 (quoting U.S. v. North, 900 F.2d 131, 134 (8th Cir. 1990), reh’g. denied, 1990

U.S.App.LEXIS 7984 (8th Cir. 1990)). Additionally, it is important to determine if the

co-conspirators conduct was carried out with or without the assistance of the defendant.

Id. at 994. Also, the Court cited the Eighth Circuit’s guidance to consider whether the

success of the conspirator’s conduct was advantageous to the defendant. Id. Where a

defendant had minimal knowledge of the conspirator’s conduct, did not participate in the

arrangement or execution of the conduct, did not assist in the conduct and did not benefit

from it, the Third Circuit agreed with the Eighth Circuit that it would be incorrect to

attribute additional conduct to the defendant at sentencing. Id.

The Third Circuit has stated:

              In order to be included in determining the defendant’s offense
              level, the loss resulting from the acts or omissions of others
              must be: “(1) in furtherance of the jointly undertaken criminal
              activity; (2) within the scope of the defendant’s agreement;
              and (3) reasonably foreseeable in connection with the
              criminal activity the defendant agreed to undertake.”




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U.S. v. Gricco, 277 F.3d 339, 356 (3d Cir. 2002) (quoting U.S. v. Duliga, 204 F.3d 97,

100 (2d Cir. 2000), cert. denied, 530 U.S. 1222 (2000)); see also U.S. v. Robinson, 603

F.3d 230, 234 (3d Cir. 2010).

       Although the Third Circuit ultimately determined it had been appropriate to

attribute one brother’s amount of heroin to the other and vice versa, the Court was very

specific regarding the reasons this was so. Id. at 997-998. The Court determined that the

evidence at trial showed the brothers having telephone conversations with other

conspirators specifically about the other brother’s involvement. Id. The two brothers

also shared an apartment out of which they ran their business. Id. Further, at the

brothers’ apartment, there were several occasions on which drug transactions occurred

and both brothers were present. Id. In sum, it was not simply that they were brothers

and, therefore, must have known what the other was doing.               Rather, the evidence

demonstrated that the two were jointly involved in criminal activity.

       In Robinson, the defendant pled guilty to conspiring to steal and convert U.S.

Treasury checks. 603 F.3d at 231. An individual named “Jeffress” provided the checks

to Robinson and three other individuals, including Travis Lynn. Id. Lynn had gone with

Robinson on a couple occasions to cash the fraudulent checks.             Id.   Also, Jeffress

routinely drove the check cashers to the check-cashing stores and, from this information,

the district court concluded it was reasonable to infer Lynn and Robinson would have

traveled together with Jeffress on the occasions which Lynn and Robinson were at the

check-cashing location together. Id.



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        The Third Circuit upheld the decision to attribute only Lynn’s loss caused by the

check cashing to Robinson because of the fact the two seemed to be acting together by

virtue of the undisputed fact they were together at the check-cashing store and the

additional fact that Jeffress often served as the driver for the check-cashers.                               Id.

However, in determining the attribution of loss to Robinson was appropriate, the Third

Circuit focused a great deal on the implicit agreement between the co-actors. Id.

        Regarding Ms. Berger, there was not ever an agreement to act in conjunction with

her competitors to defraud federally insured institutions. To attribute the loss caused by

Ms. Berger’s competitors, the government must show that she and her competitors

agreed to certain jointly undertaken criminal activity. It is not enough to simply show

Ms. Berger had a conspiracy with Mr. Cowden, who, in turn, had other conspiracies with

Ms. Berger’s competitors. The government focuses on the fact Ms. Berger knew Mr.

Cowden was providing appraisals to other brokers and, thus, by extension, she should

therefore be accountable for the losses those brokers caused. 2 While this may touch on

the issue of whether it was foreseeable to Ms. Berger that additional loss could be

incurred by these brokers, the government cannot simply attribute additional loss to her

without first establishing that she jointly undertook specific criminal activity with these

individuals or entities. “[M]ere knowledge that criminal activity is taking place is not

enough for sentence enhancement under § 1B1.3.” U.S. v. Evbuomwan, 992 F.2d 70, 74

(5th Cir. 1993).

2
 Additionally, it is worth noting Jay Berger indicated to SA Neal Caldwell that neither he nor Ms. Berger knew the
mortgage brokers named on page 3 of the government’s brief. Although Mr. J. Berger would testify he assumed Ms.
Berger knew Mr. Cowden was providing appraisals for other brokers, it is the defense’s position Ms. Berger never
even knew the brokers whose loss the government seeks attribute to her. See Defense Exhibit 1.

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       Regarding the loss caused by ACF, the government relies upon not only the

relationship Ms. Berger had with Mr. Cowden, but the additional fact that Ms. Berger and

Ms. E. Berger are sisters. Unlike Collado, however, Ms. Berger and Ms. E. Berger did

not agree to defraud banks together. There is not evidence, nor will there ever be

evidence showing that Ms. Berger had any knowledge of the specifics of the fraud being

perpetrated by her sister.   Ms. Berger did not agree to help her sister in anyway.

Furthermore, the two had different offices and worked independent of one another. The

two were competitors, effectively, conducting the same business independent of one

another.

       There is not, nor will there ever be, evidence before the Court that Ms. Berger

agreed with her competitors to defraud banks. This concept makes no sense at all.

Absent proof, even by a preponderance of the evidence, that such an agreement existed,

enhancing Ms. Berger’s offense level by the loss caused by any company other than SCM

or FF is in error.



                                 D.     GAIN AS LOSS

       The government seeks to further increase the amount of loss attributable to Ms.

Berger by adding into the calculation the amount of broker fees earned by Ms. Berger, as

well as the fees Mr. Cowden earned by doing appraisals. The commissions earned by

Ms. Berger and Mr. Cowden were their gain, not loss. “The court shall use the gain that

resulted from the offense as an alternative measure of loss only if there is a loss, but it

reasonably cannot be determined.” U.S.S.G. § 2Bl.1, cmt. app. n. 3(B). For reasons

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which are discussed, infra, the defense is of the position that the Court should look to Ms.

Berger’s gain as a substitute for loss in this case. However, it must first be addressed

why gain, in this case, should not also be added to the loss attributed to Ms. Berger.



       In seeking to add the commission fees earned by Ms. Berger and Mr. Cowden to

the loss calculation, the government relies upon U.S.S.G. § 2B1.1, cmt. app. n. 3(F)(v)(I).

This note provides, in pertinent part:

              In a case involving a scheme in which (I) services were
              fraudulently rendered to the victim by persons falsely posing
              as licensed professionals … loss shall include the amount
              paid for the … services … rendered, with no credit provided
              for the value of those … services.

U.S.S.G. § 2B1.1, cmt. app. n. (3)(F)(v)(I).

       The government cites U.S. v. Curran in support of its position that loss should be

increased by the commissions earned by Ms. Berger and Mr. Cowden.

       In Curran, the defendant held himself out as a medical doctor, when, in fact, he

was a practitioner of naturopathy and did not even have a college education. 525 F.3d

74, 76 (1st Cir. 2008), cert. denied, 129 S.Ct. 295 (2008). The court in Curran upheld

the district court’s decision to calculate loss using the total amount of money Curran

received from his patients as a result of his fraudulent medical care. 525 F.3d at 82.

       To obtain a loan collateralized by real property, it is uncontroverted that a property

appraisal is necessary. However, in typical practice, the appraisal is done at the request

of the realtor for the buyer or the mortgage broker arranges the appraisal.              Stated

differently, the appraisal is done for the mortgage broker.

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       In Curran, the defendant directly defrauded his patients. In Ms. Berger’s case,

however, the appraisals done by Mr. Cowden for Steel City Mortgage brokered loans

were done at the request of the mortgage brokers, Ms. Berger and Mr. J. Berger. In

essence, unless this Court were to conclude the Bergers were actually victims (a

preposterous argument the defense does not even suggest to imply), the application note

referenced does not apply. Loss is increased by fees from fraudulent services only where

the service was rendered by a professional who held himself out as being licensed to the

victim. In this case, Mr. Cowden performed the appraisals for Ms. Berger, so, unless, she

is somehow a victim, the defense submits this note should not apply.

       In the event the Court concludes that Mr. Cowden’s commissions should be added

to the loss calculation, however, for the reasons articulated in the section C above, “Loss

Attributed to Lia Berger from Other Mortgage Brokers,” the only commissions which

should be added are those which Mr. Cowden earned by appraising properties for SCM

and FF.

       The problem of proof remains, however. It is the defense’s position that the

government must prove (not merely extrapolate) the value of the commissions Mr.

Cowden earned on appraisals he did for SCM and FF.            The value the government

provided in its brief is based solely on a projection made from averages. This is not

proof: it’s arithmetic, and more is required when the consequence is more time in jail for

the defendant.

       Additionally, there is no evidence before the Court that fees earned by Ms. Berger

or her husband were a result of either being unlicensed. In order to add income (i.e. gain)

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from SCM commissions to the loss calculation on the basis of services being fraudulently

rendered, the services necessarily must have been provided by someone “falsely posing

as [a] licensed professional.” The Bergers and their companies were properly licensed

and, thus, this provision does not apply to Ms. Berger’s loss calculation. Even if the

Court does conclude that Mr. Cowden’s appraisal fees for work he did for Ms. Berger

should be added to the loss calculation, it goes much too far to add Ms. Berger’s gain to

the loss calculation as well, since there is no evidence before the Court that Ms. Berger’s

companies lacked the appropriate licensure.



                                        E.    GAIN

       The Guidelines provide “[t]he court shall use the gain that resulted from the

offense as an alternative measure of loss only if there is a loss but it reasonably cannot be

determined.”

       It is clear from the foregoing that determining the loss amount is complicated,

especially since so much of what is attributed to Ms. Berger by the government comes

from algorithms and arithmetic rather than evidence. The government once held the

position that Mr. Cowden caused a loss of less than $2,500,000.00. The government now

claims Ms. Berger, through her use of Mr. Cowden, caused a loss of $34,000,000.00.

This is an irreconcilable disparity, even irrespective of Mr. Cowden’s plea agreement.

       The defense believes the government has proven $404,621.14 in loss from the

documents provided by National City/PNC Bank. While the defense would encourage

the court to adopt this figure as the loss amount, the defense understands the Court may

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be uncomfortable doing so if it finds the true nature of the loss was likely higher, even if

not proven by a preponderance of the evidence. In the alternative, the Court shall look to

the gain to SCM and FF.

       Through discovery, the defense received a document prepared by the FBI which

indicates the gross revenues to SCM from Mr. Cowden’s appraisals from 2002-2005 was

$1,889,015.99.    See Defense Exhibit 10.         According to the document, “SA Joseph

Bieshelt obtained SCM loan schedules in digital spreadsheet format that reflected broker

fee income. SA Bieshelt isolated the loans that used Cowden appraisals and totaled SCM

annual fee income from the spreadsheets mentioned above…” Again, that “gain” was

$1,889.015.99.

       In the same document, the government provides an alternative calculation of gain

using extrapolation. … more algorithms. Even that figure, however, is $4,543,181.43.

The defense asserts that the $1,889,015.99 figure is the one based upon actual evidence,

and, therefore, provides the most reasonable estimate of gain to SCM. Furthermore, the

$1,889,015.99 figure as a substitute for loss is consistent with the loss attributable to Mr.

Cowden, an amount less than $2,500,000.00.



                         F.       EQUITABLE SENTENCING

       It goes without saying that the loss figure which the Court calculates is likely to

have a very significant impact on Ms. Berger’s sentence. To that end, the defense is

troubled by the government’s assertion that Ms. Berger is responsible for $35,000,000.00

in loss when no one, not even Mr. Cowden, the man truly at the center of the mortgage

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fraud ring, has been encumbered with that kind of figure. The sentences received by

others, to include Elleni Berger (36 months), Randy Berger (31 months), and Gus

Pastergou (21 months), along with an examination of Jay Berger’s PSR, will likely reflect

that the loss figures attributed to them before any adjustments are similar to Mr.

Cowden’s loss figure. It is not lost on the defense that Ms. Berger is the only defendant

to have challenged the legal sufficiency of the search of her office and the money

laundering conspiracy, coupled with the government’s statement at the February 11, 2011

hearing on this matter that, had Ms. Berger entered into a plea agreement, the government

would have gotten the benefit of an appeal waiver. See Transcript from February 11,

2011 Hearing, page 17.

          At the February 11, 2011 hearing, the government stated that the defense expected

the government to agree to a loss amount for Ms. Berger, which was a value agreed to in

other cases despite the fact the defense in this case did not enter into a plea agreement for

Ms. Berger. However, it has never been suggested or stated by the defense that the

government should or have to stipulate to a loss amount. The law, however, requires they

prove it. Asking the Court to find Ms. Berger to be responsible for $35,000,00.00 in loss

would be inequitable as compared to the others involved in Mr. Cowden’s mortgage

fraud ring even if they could prove it because it is a figure so far outlying what other

defendants have faced. It is quite clear that the government cannot prove anything close

to the loss amount they insist is appropriate. It, therefore, does not seem to be a far cry to

suggest this figure is punishment for the fact Ms. Berger asserted her constitutional

rights.

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       The defense has offered some alternatives to the Court in light of the actual

evidence that is available. Fundamentally, the defense asks the Court to determine the

loss amount based upon the evidence presented and principles of fundamental fairness.

Only that much of the loss that is justified under the circumstances should be attributed to

Ms. Berger.     Under no circumstances is the appropriate value anything close to

$35,000,000.00.

                                          Respectfully submitted,



                                          /s/ J. Alan Johnson, Esquire
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